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                  IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII


  UNITED STATES OF AMERICA,                    CR. NO. 18-00068 JMS-WRP

                     Plaintiff,                ORDER GRANTING MAGISTRATE
                                               JUDGE’S FINDINGS AND
        vs.                                    RECOMMENDATION,
                                               ECF NO. 274.

  KATHERINE P. KEALOHA (1),
  LOUIS M. KEALOHA (2)

                     Defendants.


        ORDER ADOPTING MAGISTRATE JUDGE’S FINDINGS &
                RECOMMENDATION, ECF NO. 274

                                  I. INTRODUCTION

              On March 17, 2021, Magistrate Judge Wes Reber Porter issued a

 Findings and Recommendation (“F&R”) regarding two third-party petitions

 asserting interests in criminally forfeited property under 21 U.S.C. § 853(n). ECF

 No. 274. Both parties claim an interest in the entirety of the remaining proceeds of

 the sale of real property forfeited by Defendants Katherine Kealoha and Louis

 Kealoha, totaling $63,476.97. Id. at PageID # 2701. Petitioner Hawaii

 Community Federal Credit Union (“HCFCU”) seeks these funds to partially

 recover upwards of $100,000 in attorneys’ fees and costs associated with the sale



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 of the property. ECF No. 254. Petitioners Gerard Puana and the Florence M.

 Puana Trust, together, seek these funds in partial fulfillment of the $181,673.94 in

 restitution owed to them as victims of the Defendants’ fraud. ECF No. 260. Judge

 Porter found that both petitioners have equally valid claims to the funds, and

 undertook an equitable analysis to conclude that $1,142.32 should be distributed to

 HCFCU to cover costs associated with sale of the property and the remaining

 $62,334.92 should be distributed to the Puanas in partial fulfillment of the

 restitution owed them. ECF No. 274 at PageID # 2723.

              Before the court is HCFCU’s objection to Judge Porter’s F&R, ECF

 No. 277. HCFCU first argues that its interest in the proceeds is superior to that of

 the Puanas, meaning it is entitled to the $63,476.97 as a matter of law. In the

 alternative, HCFCU argues that equity supports awarding it, rather than the

 Puanas, this full amount. See generally id. For the reasons set forth below, the

 court disagrees with these arguments and ADOPTS the F&R in full.

                                II. BACKGROUND

 A.    Factual Background

              In October 2019, Defendant Katherine Kealoha pled guilty to bank

 fraud and aggravated identity theft, and Defendant Louis Kealoha pled guilty to

 bank fraud. See ECF Nos. 203, 204. In a separate criminal case, United States v.

 Katherine Kealoha, et al., Cr. No. 17-00582-JMS-WRP (D. Haw.), Defendants

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 were convicted of conspiracy and obstruction of justice for framing Gerard Puana

 for a crime he did not commit. As part of their criminal conduct, Defendants stole

 money from Defendant Katherine Kealoha’s uncle, Gerard Puana, and her

 grandmother, Florence Puana. They also arranged a reverse mortgage on Florence

 Puana’s home in order to finance their lavish lifestyle, including luxury cars,

 leisure travel, and a $26,000 brunch. ECF No. 218 at PageID # 2061. Ninety-nine

 year-old Florence Puana was forced to sell her home to cover the costs. Id. at

 PageID # 2075. And when Gerard Puana accused the Defendants of stealing from

 himself and his mother, they retaliated by framing him. ECF No. 274 at PageID #

 2702; United States v. Katherine Kealoha, et al., Cr. No. 17-00582-JMS-WRP.

                In the final judgments issued against them, the court ordered that the

 Defendants provide $289,714.96 in restitution to the victims of their fraud,

 including $46,261.00 to Gerard Puana, and $243,453.96 to Florence Puana. 1 ECF

 No. 250 at PageID # 2462. $108,041.02 recovered for Florence Puana from a third

 party was credited to the restitution owed by Defendants, leaving them responsible

 for paying $135,412.94 to her.2 Id. In total Defendants owe the Puanas

 $181,673.94.


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         Florence Puana is now deceased and her interests are represented by the Florence M.
 Puana Trust.
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           To the extent that Judge Porter found that “[n]o restitution has been paid to any victims
 of the fraud to date,” ECF No. 274 at PageID # 2703, this appears to be incorrect.

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              When the instant case was initiated, in October 2017, the United

 States also initiated a lis pendens action against the Kealoha’s property at 7014

 Niumalu Loop (the “Niumalu Loop property”) pursuant to 18 U.S.C.

 § 982(a)(2)(A), alleging that the property was purchased using proceeds of the

 Kealoha’s criminal activities. ECF No. 31. HCFCU held the mortgage on the

 Niumalu Loop property. ECF No. 254-1 at PageID # 2495. During the criminal

 proceedings, the Kealohas defaulted on the loan by failing to make their mortgage

 payments. Id. at PageID ## 2495-96. In February 2018, HCFCU initiated state-

 court foreclosure proceedings against the property, and the United States removed

 the action to federal court. See Hawaii Central Federal Credit Union v. Kealoha,

 et al., Civ. No. 18-00108 LEK-KJM (D. Haw.), ECF No. 1. HCFCU and the

 United States then jointly moved for interlocutory sale of the property, ECF No.

 13, and entered into a settlement agreement stipulating how the proceeds of the

 sale were to be distributed, ECF No. 13-2 (the “Settlement”).

              Under the Settlement, HCFCU would manage the sale of the property,

 and any proceeds would first go to HCFCU to cover the value remaining on the

 mortgage and note, $1,099,096.60, as well as reasonable costs associated with

 managing the sale. ECF No. 13-2 at PageID ## 122-23; ECF No. 156 at PageID #

 1528. These costs expressly excluded attorneys’ fees, but HCFCU reserved the

 right to seek attorneys’ fees either through a separate legal action against the

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 Kealohas or through an ancillary proceeding pursuant to 21 U.S.C. § 853(n). Id. at

 PageID # 122. And any proceeds in excess of the amount owed to HCFCU would

 be adjudicated in a § 853(n) ancillary proceeding. Id. at PageID # 125.

              The Niumalu Loop property was purchased for $1,305,000.00 in

 March 2019. See ECF No. 156 at PageID # 1526. From these proceeds, HCFCU

 was awarded the mortgage and note amount, $1,099,096.60, as well as

 $143,826.07 for reasonable costs incurred in coordinating the sale. Id. at PageID

 # 1527-28. The remaining profit from the sale, $63,476.97, was placed in an

 interest-bearing account pending the final outcome of the criminal case against the

 Kealohas, at which point all rights, claims, liens, and interests could be determined

 through a § 853(n) ancillary proceeding. See id. at PageID ## 1528-29.

              Final judgment was issued against the Kealohas on December 10,

 2020. ECF No. 250. On December 24, 2020, HCFCU filed a petition asserting a

 right to the entirety of the remaining proceeds, $63,476.97, to partially cover “over

 $100,000” in attorneys’ fees associated with the sale of the Niumalu Loop

 property, as well as $2,350.21 in maintenance and marketing costs incurred while

 coordinating sale of the property. ECF No. 254 at PageID ## 2491-93. On

 February 3, 2021, the Puanas filed a petition asserting their interest in the

 $63,476.97 as partial fulfillment of the restitution Defendants owe them. ECF No.




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 260. No other petitions were filed. Magistrate Judge Porter considered both

 petitions in an ancillary proceeding pursuant to § 853(n). ECF No. 273.

 B.    Ancillary Proceeding Before Judge Porter

              Judge Porter held a hearing on the two petitions on March 4, 2021,

 ECF No. 273, and issued his F&R on March 17, 2021. ECF No. 274. Judge Porter

 found that both HCFCU and the Puanas have a valid legal interest in the proceeds

 of the Niumalu Loop property sale under § 853(n). Specifically, he found that

 HCFCU is a bona fide purchaser for value under § 853(n)(6)(B) because the

 mortgage and note provide HCFCU a legal right to recover attorneys’ fees and

 costs associated with vindicating the bank’s interest in the property, and because

 HCFCU had no reason to believe the property would be subject to criminal

 forfeiture when it made the mortgage loan to the Kealohas. ECF No. 274 at

 PageID ## 2714-15. And, Judge Porter found that the Puanas have an established

 legal right to the forfeited property under § 853(n)(6)(A) through the constructive

 trust doctrine. Id. at PageID # 2715. That is, “[b]oth Gerard Puana and Florence

 Puana were in a confidential relationship with the Defendants, entrusting

 Defendant Katherine Kealoha with investments based on her false and fraudulent

 misrepresentations, conveyed their property to Defendants based on that

 relationship, and consequently lost their property,” resulting in the Defendants’

 unjust enrichment. Id. at PageID # 2716.

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              Having found that both HCFCU and the Puanas have a legal interest

 in the proceeds, Judge Porter then considered how to distribute those funds. The

 $63,476.67 at issue could not fully satisfy the interest of either party—HCFCU

 seeks upwards of $100,000 in costs and attorneys’ fees and the Puanas are owed

 nearly $200,000 in restitution. Finding that § 853(n) does not prioritize either

 claim over the other, Judge Porter conducted an “equitable analysis” to determine

 how to distribute the funds. ECF No. 274 at PageID # 2720. In weighing the

 equities, he considered two factors: (1) how much the respective petitioners have

 already recovered; and (2) other avenues of potential recovery available to each

 petitioner. Id. at PageID ## 2720-21. He found that both factors favor the Puanas.

 The first because HCFCU had already recovered the $1,099,096.60 balance owed

 under the note and mortgage and an additional $143,826.07 for expenses

 associated with the sale, while the Puanas have yet to receive any proceeds from

 the sale. Id. at PageID # 2721. And the second because HFCFU is “currently

 pursuing their contractual right to seek a default judgment against Defendants in

 state court,” while the Puanas “have no other cause of action to recover their losses

 from Defendants.” Id. Thus, Judge Porter concluded that “[i]n equity, the Puanas’

 interest outweighs HCFCU’s interest.” Id. at PageID # 2720.

              Accordingly, he recommends that most of the proceeds—

 $62,334.92—be distributed to the Puanas in partial fulfillment of the $181,673.94

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 they are owed in restitution. Id. at PageID # 2722. But he recommends that

 $1,142.32 be distributed to HCFCU as reasonable costs associated with the sale of

 the property, which were expressly given priority in the Settlement between the

 United States and HCFCU. Id. at PageID # 2723.

              On March 31, 2021, HCFCU timely raised objections to the F&R

 before this court. ECF No. 277. The United States filed a response in opposition

 to HCFCU’s objections on April 12, 2021. ECF No. 278. The court decides the

 matter without a hearing under Local Rule 7.1(d).

                          III. STANDARD OF REVIEW

              When a party objects to a magistrate judge’s findings or

 recommendations, the district court must review de novo those portions to which

 the objections are made and “may accept, reject, or modify, in whole or in part, the

 findings or recommendations made by the magistrate judge.” 28 U.S.C.

 § 636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003) (en

 banc) (“[T]he district judge must review the magistrate judge’s findings and

 recommendations de novo if objection is made, but not otherwise.”). Under a de

 novo standard, there is no deference to the lower court’s ruling; rather, the court

 “freely consider[s] the matter anew, as if no decision had been rendered below.”

 Dawson v. Marshall, 561 F.3d 930, 933 (9th Cir. 2009) (alteration in original);

 Freeman v. DirecTV, Inc., 457 F.3d 1001, 1004 (9th Cir. 2006).

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                The district court “may accept, reject, or modify, in whole or in part,

 the findings and recommendations made by the magistrate judge,” or recommit the

 matter to the magistrate judge with further instructions. 28 U.S.C. § 636(b)(1);

 United States v. Raddatz, 447 U.S. 667, 673-74 (1980); Fed. R. Civ. P. 72(b)(3).

                                      IV. DISCUSSION

                HCFCU raises two alternative objections to Judge Porter’s F&R.

 First, HCFCU argues that its claim is legally superior to that of the Puanas and that

 Judge Porter erred in undertaking an equitable analysis to determine that the

 Puanas are owed most of the proceeds. ECF No. 277 at PageID ## 2732-34. In

 the alternative, HCFCU argues that even if the equity analysis was appropriate,

 principles of equity favor awarding the entirety of the proceeds to HCFCU over the

 Puanas.3 Id. at PageID # 2735. The court considers each objection in turn, and

 determines that neither are availing.

 A.     Equity Analysis Was Appropriate

                The forfeiture of property constituting or derived from proceeds of a

 federal crime are governed by 21 U.S.C. § 853. Pursuant to § 853(c), all such

 property vests in the United States as of the date of the underlying offense. But

 § 853(n) allows any third-party “asserting a legal interest” in the forfeited property


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           It is undisputed that $1,142.32 was properly distributed to HCFCU to cover those
 reasonable costs prioritized in the Settlement. Thus, the discussion in this section focuses only
 on the distribution of the remainder of the funds at issue.

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  to timely “petition the court for a hearing to adjudicate the validity of his alleged

  interest in the property.” 21 U.S.C. § 853(n)(2). In the case of multiple petitions,

  as here, the court may consolidate the petitions and hear them jointly. Id. §

  853(n)(4). The court will award forfeited property if a petitioner establishes, by a

  preponderance of the evidence, that either (1) “the petitioner has a legal right, title,

  or interest in the property” superior to that of the defendant; or (2) “the petitioner is

  a bona fide purchaser for value of the right, title, or interest in the property and was

  at the time of purchase reasonably without cause to believe that the property was

  subject to forfeiture under this section.” Id. § 853(n)(6)(A)-(B). To determine

  whether these conditions have been met, the court looks to the law of the forum

  state. See United States v. Nava, 404 F.3d 1119, 1128-29 (9th Cir. 2005) (“Federal

  forfeiture statutes govern the disposition of property, but state law determines what

  rights, title or interests the various claimants possess in that property.”). In

  reaching its decision, the court is to apply § 853’s provisions “liberally” to

  effectuate the statute’s “remedial purposes.” 21 U.S.C. § 853(o).

               Here, Judge Porter determined that HCFCU has a right to the proceeds

  as a bona fide purchaser for value under § 853(n)(6)(B) and that the constructive

  trust doctrine vests the Puanas with a legal right to the proceeds under §

  853(n)(6)(A). Because § 853(n) does not preference one type of claim over the

  other, Judge Porter undertook an equity-based analysis to determine how the

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  proceeds should be distributed. HCFCU does not object to Judge Porter’s finding

  that both petitioners have a valid claim under § 853(n), but argues that undertaking

  an equitable analysis was an error because “[HCFCU]’s rights are established by

  contract and cannot be abrogated by the equitable application of a constructive

  trust in favor of the Puana Petitioners.” ECF No. 277 at PageID # 2730. That is,

  although § 853(n) does not prioritize one claim over another, HCFCU argues that

  because the Puanas’ constructive trust right is based in equity while its contractual

  right is based in law, the latter is superior to the former, and HCFCU is therefore

  entitled to the full amount. This argument is not supported by law.

                 It is undisputed that § 853(n) itself places on equal footing claims of a

  “bona fide purchaser for value” of forfeited property and claims of individuals

  asserting a “legal right, interest, or title” in the same property. 21 U.S.C. §

  853(n)(6)(A)-(B). And although, under Hawaii law, a constructive trust arises

  from principles of equity, see Aldrich v. Hassinger, 13 Haw. 138, 149 (1900),4 the

  Ninth Circuit has repeatedly found that a party’s interest in a constructive trust is a

  “legal right, interest, or title” for the purposes of § 853. See United States v.


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           Under Hawaii law, “‘[a] constructive trust arises where a person holding title to
  property is subject to an equitable duty to convey it to another on the ground that he would be
  unjustly enriched if he were permitted to retain it.’” Seo Jeong Won v. England, 2008 WL
  5225872 at *5 (D. Haw. Dec. 12, 2008) (quoting Kam Oi Lee v. Fong Wong, 57 Haw. 137, 139,
  552 P.2d 635, 637 (1976)). “‘[T]he beneficial owner, in equity, has the right to have the title to
  the property transferred to himself if it is in the hands of the wrongdoer.’” Id. (quoting Peine v.
  Murphy, 46 Haw. 233, 241, 377 P.2d 708, 713 (1962)).

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  Wilson, 659 F.3d 947, 952-53 (9th Cir. 2011); United States v. $4,224,958.57

  (“Boylan”), 392 F.3d 1002, 1004 (9th Cir. 2004) (explaining that, in the context of

  § 853(n), “[t]he obligation on the fraudster [through a constructive trust] is

  imposed by law and arises immediately with his acquisition of the proceeds of the

  fraud.”) (emphasis added). Most other Circuits have found the same. See, e.g.,

  United States v. Shefton, 548 F.3d 1360, 1365 (11th Cir. 2008) (“We agree with the

  large majority of courts that have determined . . . that a constructive trust, despite

  being an equitable remedy, constitutes a ‘legal right, title, or interest’ for the

  purposes of § 853(n)”); United States v. BCCI Holdings (Luxembourg), S.A., 46

  F.3d 1185, 1190 (D.C. Cir. 1995); United States v. Schwimmer, 968 F.2d 1570,

  1582 (2d Cir. 1992); United States v. Marx, 844 F.2d 1303, 1308 (7th Cir. 1988);

  see also United States v. Lavin, 942 F.2d 177, 185-86 (3d Cir. 1991); United States

  v. Campos, 859 F.2d 1233, 1238-39 (6th Cir. 1988) (stating in dicta that a

  constructive trust would constitute a superior interest under § 853(n)). As has this

  court. See United States v. One Hundred Thirty Three (133) U.S. Postal Service

  Money Orders, 780 F. Supp. 2d 1084, 1096 (D. Haw. 2011). There is simply no

  merit to HCFCU’s contention that its contractual right is superior the Puanas’

  constructive trust right for the purpose of § 853(n).

               Having determined that the two petitioners have equally valid claims

  to the proceeds, the court must now determine whether Judge Porter’s equity-based

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  analysis was an appropriate means of determining how those proceeds should be

  distributed. Upon de novo review, the court finds that the equitable analysis was

  appropriate and supported by law.

                 First, an equitable analysis accords with the congressional mandate in

  § 853(o) that the court should apply the statute’s provisions “liberally” to

  effectuate the statute’s “remedial purposes.” Because Congress declined to

  prioritize one type of claim over another within the § 853 framework,5 it is

  necessary for the court to turn to equitable principles in order to follow Congress’

  mandate and craft an appropriate remedy. See Zipes v. Trans World Airlines, Inc.,

  455 U.S. 385, 398 (1982) (applying equitable principles to “honor the remedial

  purpose of the legislation”); cf. SEC v. Capital Gains Rsch. Bureau, Inc., 375 U.S.

  180, 191-95 (1963) (explaining that the lower court correctly looked to principles

  of equity to construe a remedial statute because Congress intended that statute to

  be construed flexibly in order to effectuate its remedial purpose).

                 Second, both the Supreme Court and the Ninth Circuit have approved

  of equitable analysis as a method for determining how to distribute forfeited

  property between similarly situated victims. See, e.g., Cunningham v. Brown, 265

  U.S. 1, 13 (1924) (explaining, in determining how to distribute criminally forfeited



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            This in contrast to other statutory schemes governing distribution of property in which
  certain claims are expressly prioritized over others. See, e.g., 11 U.S.C. § 726 et seq.

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  property, that equity requires setting aside tracing principles that would permit

  some victims to recover at the exclusion of other, similarly-situated victims);

  Wilson, 659 F.3d at 956 (finding the same in the context of a § 853(n) ancillary

  proceeding) (citing Boylan, 392 F.3d at 1005).

               There is no reason to suggest that the same approach would not be

  appropriate where, as here, the court must determine how to distribute property

  between two differently positioned claimants. And, indeed, the Ninth Circuit has

  intimated as much. Wilson, 659 F.3d at 956 (stating that “this decision should not

  be read to preclude equitable analysis by the court below” and remanding with

  instructions to “take steps to assure that no claimant obtains more than his or her

  fair share”) (internal quotation and citation omitted). In contrast, HCFCU points to

  no authority suggesting that an equitable analysis was inappropriate. It rests solely

  on its unfounded argument that a contractual right is superior to a constructive trust

  right in the context of § 853(n). ECF No. 277 at PageID ## 2731-35.

               In short, both the Puanas and HCFCU have valid legal claims to the

  proceeds under § 853(n), and an equitable analysis is an appropriate method for

  determining how to distribute the proceeds between the two parties.

  B.    Equity Favors the Puanas

               HCFCU alternatively argues that equity supports awarding it (over the

  Puanas) the entirety of the proceeds. The court disagrees.

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               HCFCU argues that both factors considered by Judge Porter—the

  amount each petitioner has already recovered and other avenues of potential

  recovery available to each petitioner—favor awarding HCFCU the full amount.

  As to the first factor, Judge Porter found that “HCFCU was made whole on the

  $1,099,096.60 balance owed under the note and mortgage and received an

  additional $143,826.0[7] for the various expenses associated with the sale, taking

  95% of the proceeds,” while “the more traditional victims of Defendants’ fraud

  have received nothing.” ECF No. 274 at PageID ## 2720-21. HCFCU argues that

  this analysis is flawed for two reasons. First, it will not be “made whole” until its

  attorneys’ fees have been paid. And, second, it deserves the money more than the

  Puanas because it “took the laboring oar in marketing and selling the Property”

  while the Puanas did not contribute to this effort. ECF No. 277 at PageID # 2736.

  These arguments are unpersuasive.

               As to the first, although HCFCU may still have outstanding attorneys’

  fees, it has recovered far more than the Puanas. It has recovered the entirety of the

  mortgage amount and most of its costs—in total upwards of 95% of the money it

  seeks, while the Puanas have recovered nothing from the sale and are still owed

  $181,673.94 in restitution. Distributing the remainder of the proceeds to HCFCU

  to recover attorneys’ fees at the expense of the Puanas receiving any restitution

  from the sale would be most inequitable. As the United States notes, the purpose

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  of criminal forfeiture is to achieve justice for fraud victims, like the Puanas, by

  “marshaling the fraudster’s assets in order to provide fair restitution for all fraud

  victims through the restoration process . . . or the remission process.” ECF No.

  262 at PageID # 2638 (citing 19 U.S.C. §§ 981(d),(e)(6)). Awarding the remaining

  proceeds to HCFCU would frustrate this equitable purpose. The first factor favors

  awarding most of the proceeds to the Puanas.

               Judge Porter also concluded that the second factor—what other

  avenues of recovery remain available to the petitioners—favors the Puanas.

  Specifically, Judge Porter found that HCFCU may pursue (and in fact is actively

  pursuing) a deficiency action against the Kealohas in order to recover attorneys’

  fees, while the Puanas “have no other cause of action to recover their losses from

  Defendants.” ECF No. 274 at PageID # 2721 (citing Hawaii Central Federal

  Credit Union v. Louis Mahina Kealoha, et al., Civ. No. 1-CC-181000313 (Haw.

  1st Cir. Ct.)). HCFCU argues that this analysis is flawed because the Puanas are

  also able to pursue a state court civil action and, indeed, appear to be doing so.

  ECF No. 277 at PageID ## 2736-37 (citing Estate of Florence Puana, et al. v.

  Katherine P. Kealoha, et al., Civ. No. 1-CC-13100686 (Haw. 1st Cir. Ct.)). But,

  even if this is true, the Puanas’ ability to pursue a civil remedy in state court at best




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  renders the second factor neutral, 6 while the first factor still strongly favors the

  Puanas. Equity requires the majority of the proceeds be awarded to the Puanas.

                                    V. CONCLUSION

                For the foregoing reasons, after de novo review, HCFCU’s objections

  are OVERRULED and the court ADOPTS the March 17, 2021 Findings and

  Recommendation, ECF No. 274. The remaining proceeds of the Niumalu Loop

  property sale shall be distributed as follows:

                (1) $1,142.32 shall be distributed to HCFCU for reasonable costs

                   associated with sale of the property as contemplated by the

                   Settlement.

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            And given the resource and power deferential between HCFCU and the Puanas, seeking
  a civil court remedy is a far more burdensome undertaking for the Puanas than for HCFCU.

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               (2) The remainder of the proceeds, $62,334.92, plus any accrued

                   interest, shall be distributed to the Puanas on a pro rata basis

                   consistent with the restitution owed to each party—$44,020.73

                   plus interest to the Florence M. Puana Trust, and $18,313.92 plus

                   interest to Gerard Puana.

               IT IS SO ORDERED.

               DATED: Honolulu, Hawaii, April 26, 2021.


                                                        /s/ J. Michael Seabright
                                                       J. Michael Seabright
                                                       Chief United States District Judge




  United States v. Kealoha, Cr. No. 18-00068 JMS-WRP, Order Adopting Magistrate Judge’s
  Findings and Recommendation, ECF No. 274.

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